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                            In the United States District Court
                            For the Southern District of Texas
                                    Houston Division

    Lewis Brisbois Bisgaard & Smith,
       LLP,
          Plaintiff,                                  Civil Action No. 4:22-cv-3279
       v.
    Michael Joseph Bitgood a/k/a “Michael             Jury Demanded
       Easton,” et al.
          Defendants.

   PLAINTIFF LEWIS BRISBOIS BISGAARD & SMITH, LLP’S MOTION FOR
SUMMARY JUDGMENT AND PERMANENT INJUNCTION AGAINST DEFENDANTS

       Consistent with Rule 56, Plaintiff, Lewis Brisbois Bisgaard & Smith, LLP moves for

summary judgment on LBBS’ trademark and trade name infringement and Lanham Act claims

against Defendants Michael Joseph Bitgood a/k/a Michael Easton, Susan C. Norman, and Bradley

B. Beers.
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                                 NATURE AND STAGE OF THE PROCEEDING

              On September 23, 2022, Plaintiff, Lewis Brisbois Bisgaard & Smith, LLP (“LBBS”) sued 1

Michael Joseph Bitgood a/k/a Michael Easton, Susan C. Norman, Bradley B. Beers (collectively

with Bitgood and Ms. Norman, “Defendants”), Richard P. Jones, and a recently formed Texas

entity known as “Lewis Brisbois Bisgaard & Smith, LLP” 2 for trademark and trade name

infringement, unfair competition in violation of the Trademark Act of 1946, 15 U.S.C. §1051, et

seq., as amended (the “Lanham Act”), 3 and related claims arising under Texas law. LBBS applied

for a temporary restraining order in conjunction with its lawsuit and on October 7, 2022, the Court

entered the TRO. 4

              On February 16, 2023, the Court entered a preliminary injunction order, which immediately

restrained Defendants from “(a) using, directly or indirectly, in any manner, the trademarks owned

by Plaintiff, the name Lewis Brisbois Bisgaard & Smith, LLP, the name Lewis Brisbois, and/or

the initials “LB” or “LBBS” or any variation or derivative of those names in any manner and for

any purpose,” and from “(b) holding themselves out as members of, representatives of, or

otherwise having any relationship with or to Lewis Brisbois Bisgaard & Smith, LLP or as being in

any way affiliated with Lewis Brisbois Bisgaard & Smith, LLP. 5


1
    Doc. 1.
2
  To avoid confusion, LBBS is the law firm founded in 1979 in Los Angeles, California, known today as Lewis
Brisbois Bisgaard & Smith, LLP and refers to the entity Defendants unlawfully registered as a domestic limited
liability partnership known as “Lewis Brisbois Bisgaard & Smith, LLP,” as the “Infringing Entity.”
3
  To be precise, the U.S. Patent and Trademark Office granted LBBS a service mark. The term “trademark” is generally
understood to include both trademarks (for goods) and service marks (for services). RESTATEMENT (THIRD) OF UNFAIR
COMPETITION § 9 cmt. F, at 82 (1995). Because the statutory definitions of trademarks and service marks “closely
track each other, and the cases construing the two terms inform[s] [the] analysis equally,” LBBS refers to its claims
herein as trademark infringement. See Savage Tavern v. Stag, 589 F. Supp. 3d 624, 635 (N.D. Tex. 2022).
4
    Doc. 14.
5
    Doc. 124.


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       Based on the same evidence and findings that support the Court’s preliminary injunction

as well as additional evidence submitted with this motion, Plaintiff is entitled to judgment as a

matter of law of all of Plaintiff’s claims against the Defendants.

                                   STATEMENT OF THE ISSUES

       1. Whether Defendants violated LBBS’ trademark rights under 15 U.S.C. § 1114(1) and
          Texas law by using LBBS’ marks to market, promote, advertise, and conduct
          “mediation and related services” on behalf of the Infringing Entity.

       2. Whether Defendants violated LBBS’ trade name rights under 15 U.S.C. § 1125 and
          Texas law by using LBBS’ trade names to market, promote, advertise, and conduct
          “mediation and related services” on behalf of the Infringing Entity.

       3. Whether Defendants’ unauthorized use of LBBS’ trademarks and names to promote,
          market, advertise, and conduct “mediation and related services” on behalf of the
          Infringing Entity constitute unfair competition under 15 U.S.C. § 1125 and Texas law.

       4. Whether Defendants’ infringement of LBBS’ trademarks and trade name was willful.

       5. Whether LBBS is entitled to a judgment and a permanent injunction prohibiting
          Defendants from committing any further violations of LBBS’ rights under the Lanham
          Act.

       6. Whether Defendants committed fraud by filing with the Fort Bend County Clerk or
          Office of the Secretary of State documents containing material and false
          misrepresentations.

       7. Whether Defendants committed conspiracy to infringe LBBS’ trademarks and name or
          to commit fraud.

       8. Whether statutory damages are appropriate for Defendants’ willful infringement of
          LBBS’ trademarks.

       9. Whether LBBS is entitled to its reasonable attorneys’ fees of $275,396.50 against
          Defendants.




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                                     SUMMARY JUDGMENT EVIDENCE 6

         Exhibit 1:       LEWIS BRISBOIS BISGAARD & SMITH, Registration No. 3,722,172.

         Exhibit 2:       LB, Registration No. 5,151,123.

         Exhibit 3:       LB LEWIS BRISBOIS, Registration No. 5,151,128.

         Exhibit 4:       LBBS’ Registration of a Foreign Limited Liability Partnership, dated March
                          28, 2022.

         Exhibit 5:       Original petition filed in Cause No. 22-CCV-070378, Jones, et al. v.
                          Martinez, et al., in the County Court at Law No. 3 of Fort Bend County,
                          Texas (the “Imperial Lofts Case”).

         Exhibit 6:       The Infringing Entity’s Assumed Name Certificate for Certain
                          Unincorporated Persons, filed in Fort Bend County, Texas on May 2, 2022.

         Exhibit 7:       The Infringing Entity’s Registration of a Limited Liability Partnership, filed
                          in the Office of the Secretary of State of Texas on May 26, 2022.

         Exhibit 8:       The Infringing Entity’s Assumed Name Certificate, filed in the Office of
                          the Secretary of State of Texas on June 1, 2022.

         Exhibit 9:       3rd Amended Petition, dated June 15, 2022, filed by Bitgood and Ms.
                          Norman, on behalf of Jones and the Infringing Entity in the Imperial Lofts
                          Case.

         Exhibit 10:      4th Amended Petition, dated June 24, 2022, filed in the Imperial Lofts Case.

         Exhibit 11:      Bitgood’s letter/pleading to William Moye and Bennett Fisher, dated
                          September 19, 2022, filed by Bitgood in the Imperial Lofts Case.

         Exhibit 12:      “Soft” Objections/Motion to Strike [Underlying] Defendant’s “Original”
                          Answer, filed by Bitgood and Ms. Norman, on behalf of Jones and the
                          Infringing Entity in the Imperial Lofts Case on September 22, 2022.

         Exhibit 13:      LBBS’ cease-and-desist letter to Bitgood and Ms. Norman dated September
                          16, 2022.



6
  LBBS took the deposition of Mr. Beers on August 16, 2023. During Mr. Beers’ deposition, Mr. Beers’ counsel
objected and instructed Mr. Beers not to answer questions regarding conversations between Mr. Beers, Ms. Norman,
and Bitgood as it relates to, among other things, the formation of the Infringing Entity. While there is an abundance
of evidence to support Plaintiff’s claims against Mr. Beers, LBBS will seek to compel Mr. Beers to answer such
deposition questions in the event the Court finds it necessary for LBBS to provide additional evidence or if LBBS
requires such testimony to support a reply.

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  Exhibit 14:   Bitgood’s e-mail dated September 23, 2022, including images attached
                thereto.

  Exhibit 15:   American Lawyer article/survey on LBBS’ revenue.

  Exhibit 16:   Article – Leading National Law Firm Lewis Brisbois Selects Bottomline’s
                Law Firm Analytics to Assist in Managing Billing Operations.

  Exhibit 17:   Article – The Law Firms that Get Hired When a Firm is Hacked.

  Exhibit 18:   Article – The 2022 Am Law 100: By the Numbers.

  Exhibit 19:   Article – Glass Ceiling Report: How Does Your Firm Stack Up?.

  Exhibit 20:   Article – Women in Focus.

  Exhibit 21:   Article – The Largest Law Firms With the Most Women Lawyers (2021).

  Exhibit 22:   Excerpts from October 6, 2022 hearing transcript.

  Exhibit 23:   Excerpts from December 15, 2022 hearing transcript.

  Exhibit 23A: Letter from Bennett Fisher to Ms. Norman, dated September 28, 2022.

  Exhibit 24:   Letter from Ms. Norman to Bennett Fisher, dated September 29, 2022.

  Exhibit 25:   Email from Meredith Riede to Norman Giles, dated August 17, 2022.

  Exhibit 26:   Email from Ms. Norman to Bitgood dated May 2, 2022 with subject line
                “Lewis Bobo Still Expired,” produced as “Resp to Req Prod 1 – 5-22 23,
                Page 2 [and 3] of 50”.

  Exhibit 27:   Email from Ms. Norman to Bitgood dated May 31, 2022 with subject line
                “Lewis Bobo – Dallas Office,” produced as “Resp to Req Prod 1 – 5-22 23,
                Page 4 [– 12] of 50”.

  Exhibit 28:   Email from Ms. Norman to Bitgood dated May 31, 2022 with subject line
                “Houston Office of Lewis Bobo,” produced as “Resp to Req Prod 1 – 5-22
                23 Page 13 [– 19] of 50”.

  Exhibit 29:   Email from Ms. Norman to Bitgood dated May 31, 2022 with subject line
                “NEW LEWIS BRISBOIS LLP – Sent PDF of each section at Sec State,”
                produced as “Resp to Req Prod 1 – 5-22 23 Page 20 [– 27] of 50”.

  Exhibit 30:   Email from Ms. Norman to Bitgood dated June 9, 2022 with subject line
                “Lewis Bobo,” produced as “Resp to Req Prod 1 – 5-22 23 Page 28 of 50”.

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        Exhibit 31:       Email from Ms. Norman to Leigh A. Gonnet dated June 9, 2022 with subject
                          line “Foreign LLP filed with same name as domestic LLP,” produced as
                          “Resp to Req Prod 1 – 5-22 23 Page 29 [– 30] of 50”.

        Exhibit 32:       Email from Ms. Norman to Bitgood dated July 22, 2022 with subject line
                          “This will definitely cause a hiccup”.

        Exhibit 33:       Email from Ms. Norman to Bitgood dated July 21, 2022 with subject line
                          “Table of Sec State Filings”. 7

        Exhibit 34:       Email from Ms. Norman to Bitgood dated July 21, 2022 with subject line
                          “Filing History for LBBS in Texas”.

        Exhibit 35:       Text messages between Bitgood and Mr. Beers [Beers_000011 – 000014].

        Exhibit 36:       Email between Defendants dated May 23, 2022 with subject line “LLP”
                          [Beers_000015 – 000017].

        Exhibit 37:       Email chain between Defendants dated May 23, 2022 – May 26, 2022
                          [Beers_000018 – 000030].

        Exhibit 38:       Beers Law Firm invoice to Bitgood [Beers_000039 – 000040].

        Exhibit 39:       Plaintiffs’ Reply to Defendant’s Response to the Motion to Show Authority
                          filed by Bitgood and Ms. Norman, on behalf of Jones and the Infringing
                          Entity in the Imperial Lofts Case on June 21, 2022.

        Exhibit 40:       Application for Entry of Partial Default & Severance filed by Bitgood and
                          Ms. Norman, on behalf of Jones and the Infringing Entity in the Imperial
                          Lofts Case on June 23, 2022.

        Exhibit 41:       Motion to Strike the J.P. Court Jury Demand and Request for Judicial
                          Notice Under Texas Rule of Evidence 201 filed by Bitgood and Ms.
                          Norman, on behalf of Jones and the Infringing Entity in the Imperial Lofts
                          Case on June 24, 2022.

        Exhibit 42:       Plaintiff’s Reply to Defendant’s “Amended” Response to the Motion to
                          Show Authority & Motion to Strike the “Affidavits” of Larson, Sullivan &
                          Martinez filed by Bitgood and Ms. Norman, on behalf of Jones and the
                          Infringing Entity in the Imperial Lofts Case on July 11, 2022.



7
  Ms. Norman’s document production, and specifically e-mails and e-mail attachments, do not appear to be in
sequential order. Therefore, LBBS has done its best to identify what appears to be the correct attachments to the
appropriate respective e-mails.

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  Exhibit 43:   Plaintiff’s Reply to Defendant’s “Amended” + “Amended” Response to the
                Motion to Show Authority filed by Bitgood and Ms. Norman, on behalf of
                Jones and the Infringing Entity in the Imperial Lofts Case on July 12, 2022.

  Exhibit 44:   Plaintiffs’ Reply to the Amended-Amended Response to the Defendant’s
                Motion to Show Authority With Incorporated Motion to Strike the
                “Affidavits” of Larson, Sullivan, & Martinez filed by Bitgood and Ms.
                Norman, on behalf of Jones and the Infringing Entity in the Imperial Lofts
                Case on July 22, 2022.

  Exhibit 45:   Letter/pleading to Trayneisha Sanford and Eralyn Fisher filed by Bitgood
                in the Imperial Lofts Case on August 16, 2022.

  Exhibit 46:   Time Line and Chronology filed by Bitgood and Ms. Norman, on behalf of
                Jones and the Infringing Entity in the Imperial Lofts Case on August 17,
                2022.

  Exhibit 47:   Notice of Partial Non-Suit as to Defendant Chinasa Ogubureke filed by
                Bitgood and Ms. Norman, on behalf of Jones and the Infringing Entity in
                the Imperial Lofts Case on August 17, 2022.

  Exhibit 48:   First Supplement to the Motion to Disqualify Lewis Brisbois Bisgaard &
                Smith LLP and David A. Oubre filed by Bitgood and Ms. Norman, on behalf
                of Jones and the Infringing Entity in the Imperial Lofts Case on August 22,
                2022.

  Exhibit 49:   Letter to the Honorable Keith P. Ellison filed by Bitgood in Civil Action
                No. 4:22-cv-03279, on October 5, 2022, as Docket No. 8.

  Exhibit 50:   Motion to Strike the “Affidavits” of Larson, Sullivan & Martinez filed by
                Bitgood and Ms. Norman, on behalf of Jones and the Infringing Entity in
                the Imperial Lofts Case on July 12, 2022.

  Exhibit 51:   Affidavit of Robert F. Lewis.

  Exhibit 52:   Affidavit of William S. Helfand.

  Exhibit 53:   Excerpts of Ms. Norman’s deposition transcript of July 26, 2023.

  Exhibit 53A: Excerpts of Ms. Norman’s deposition transcript of August 16, 2023.

  Exhibit 54:   Excerpts of Mr. Beers’ deposition transcript of August 16, 2023.

  Exhibit 55:   The State Bar of California certificate of registration certifying that Lewis
                D’Amato, Brisbois & Bisgaard is registered with the State Bar of California
                as a limited liability partnership, effective December 29, 1995.

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              Exhibit 56:   Certificate of registration for limited liability partnership filed by Lewis
                            D’Amato, Brisbois & Bisgaard in Secretary of State for the State of
                            California on December 29, 1995.

              Exhibit 57:   LBBS’ limited liability partnership amendment to registration filed in the
                            Secretary of State for the State of California on June 21, 2002.

              Exhibit 58:   Law 360 Article – Lewis Brisbois Gave Up Name Rights, Company Argues

              Exhibit 59:   Law 360 Article – Lewis Brisbois Sues Lewis Brisbois in Texas Name Spat

              Exhibit 60:   Law 360 Article – Lewis Brisbois Trademark Suit Moving Forward in
                            Texas Court

                             STATEMENT OF UNDISPUTED MATERIAL FACTS

A. LBBS’ History

              LBBS formed under California law as “Lewis D’Amato, Brisbois & Bisgaard” in 1979. 8

In 1995, following a modification in California law, the firm became registered as a limited

liability partnership, and the firm’s name became “Lewis, D’Amato, Brisbois & Bisgaard, LLP.” 9

Since 2002, LBBS has been known as “Lewis Brisbois Bisgaard & Smith, LLP.” 10 In addition to

conducting business as “Lewis Brisbois Bisgaard & Smith, LLP,” LBBS conducts business and

has continuously conducted business using shortened or abbreviated versions of its name

including, but not limited to “Lewis Brisbois Bisgaard & Smith,” “Lewis Brisbois,” and “LBBS.”11

LBBS currently employs more than 1,550 lawyers across the United States in over 50 offices,

including offices in Houston, Texas and Dallas, Texas. 12


8
    Ex. 51.
9
    Exs. 51, 55 & 56.
10
     Exs. 51 & 57.
11
     Ex. 51.
12
     Ex. 51.


                                                     7
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B. LBBS’ Trademarks

              On May 15, 2009, LBBS applied for registration with the U.S. Patent and Trademark

Office (“PTO”) for the following service mark depicted below:




                                                                                      13

              On December 8, 2009, the PTO registered the above service mark, “LEWIS BRISBOIS

BISGAARD & SMITH,” as Registration Number 3,722,172. 14

              On July 25, 2016, LBBS also sought to be registered with the PTO the following service

marks as depicted below.




                               15                                                     16

              On February 28, 2017, the PTO registered the above service marks, “LB LEWIS

BRISBOIS” and “LB,” as Registration Numbers 5,151,128 and 5,151,123, respectively. 17 LBBS

first used the “LB” and “LB Lewis Brisbois” service marks in commerce on June 6, 2016. 18



13
     Ex. 1.
14
     Ex. 1.
15
     Ex. 2.
16
     Ex. 3.
17
     Exs. 2 & 3.
18
     Exs. 2 & 3.


                                                    8
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              As a foreign limited liability partnership doing business in Texas, LBBS is and has been

registered with the Office of the Secretary of State of Texas. 19 LBBS is currently registered to

conduct business in the State of Texas effective March 28, 2022. 20

C. The Imperial Lofts Case and Creation of the Infringing Entity

              On January 7, 2022, Bitgood and Richard P. Jones sued Karina Martinez, Mariana Sullivan,

and Imperial Lofts, LLC in Fort Bend county court (previously defined as the Imperial Lofts Case)

alleging, in pertinent part, that Martinez, Sullivan, and Imperial Lofts had improperly charged

rental fees and filed eviction petitions against Bitgood and Jones. 21 Bitgood appeared pro se and

Ms. Norman appeared as attorney-of-record for Jones. The defendants in the Imperial Lofts Case

retained LBBS to defend against Bitgood and Jones’s claims. On March 11, 2022, LBBS filed an

answer of behalf of the underlying defendants. David A. Oubre of LBBS’ Houston office appeared

as attorney-of-record and lead counsel for the defendants in the Imperial Lofts Case.

              Unbeknownst to LBBS and certainly without LBBS’ authorization or permission, on May

2, 2022, Bitgood and Ms. Norman filed a sworn and notarized assumed name certificate for certain

unincorporated persons for a business named “Lewis Brisbois Bisgaard & Smith” in the Office of

the County Clerk, Fort Bend Cunty, Texas. 22 Bitgood and Ms. Norman identified the registrant as

an “individual” and “further state[d] that this registrant is not a limited partnership, limited liability

company, limited liability partnership, or foreign filing entity.” 23



19
     Ex. 4.
20
     Ex. 4.
21
     Ex. 5.
22
     Ex. 6.
23
     Ex. 6.


                                                     9
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              Later, in May 2022, Ms. Norman and Bitgood formed a partnership with the exact same

name as LBBS. 24 Specifically, on May 26, 2022, Bitgood filed a registration for a domestic limited

liability partnership Bitgood named “Lewis Brisbois Bisgaard & Smith, LLP” in the Office of the

Secretary of State of Texas. 25 Prior to the filing of the registration form, Bitgood retained Mr.

Beers to assist Bitgood in preparing such form on behalf of the Infringing Entity. 26 Mr. Beers’

associate (and son), Baker Beers, prepared the May 26, 2022 registration form on behalf of the

Infringing Entity at Mr. Beers’ direction. 27 Bitgood listed the street address for the Infringing

Entity as 503 FM 359-130, Suite 116, Richmond, Texas 77406 and identified the Infringing

Entity’s business as “mediation and related services.” 28 Bitgood electronically signed the

registration “subject to the penalties imposed by law for the submission of a materially false or

fraudulent instrument.” 29

              On June 1, 2022, Mr. Beers, acting not as an attorney-at-law, but instead expressly

identifying himself in the capacity of attorney-in-fact for the Infringing Entity, filed an assumed

name certificate in the Office of the Secretary of State. 30 Mr. Beers filed the assumed name

certificate after Bitgood contacted Mr. Beers in late May 2022. 31 The assumed name certificate

Mr. Beers filed identified the Infringing Entity’s assumed name as “Lewis Brisbois Bisgaard &


24
     Ex. 53A, at 41:3-8.
25
     Ex. 7.
26
     See Ex. 54, at 59:3-9.
27
     Ex. 37; Ex. 54, at 40:6-13, 42:12-25.
28
     Ex. 7.
29
     Ex. 7.
30
     Ex. 8.
31
     Ex. 54, at 23:10-24:2.


                                                  10
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Smith.” 32 Mr. Beers electronically signed the assumed name certificate “subject to the penalties

imposed by law for the submission of a materially false or fraudulent instrument.” 33 Thus, even if,

despite his express statement that he was not acting as an attorney-at-law, but rather an attorney-

in-fact, Mr. Beers knowingly participated in his co-Defendants’ fraud.

              On June 15, 2022, Bitgood and Jones filed their third amended petition in the Imperial

Lofts Case to add the Infringing Entity as a plaintiff. 34 In so doing, Bitgood and Ms. Norman acted

with purposeful intent to cause confusion by using LBBS’ trademark name in the same case in

which Mr. Oubre was acting as counsel (for the defendants in the Imperial Lofts Case) and as such,

utilizing LBBS’ trademark-protected name. The effect of Defendants’ fraud listing LBBS as

counsel for both plaintiffs and defendants in that same court was confusing, on its face, and an

egregious example of Defendants’ arrogance and flouting of the law; both, the Lanham Act and

the Unfair Competition laws of Texas. In addition to appearing as Jones’s counsel, Ms. Norman

appeared as counsel for the Infringing Entity. 35 Bitgood and Ms. Norman attached as exhibits to

the third amended petition the sworn and notarized assumed name certificate Bitgood and Ms.

Norman filed in the Fort Bend County Clerk’s Office and the registration of a limited liability

partnership that Bitgood filed in the Office of the Secretary of State of Texas. 36




32
     Ex. 8.
33
     Ex. 8.
34
     Ex. 9.
35
     Ex. 9, p. 13 of 18.
36
  Ex. 9, pp. 14-16. Notably, Bitgood’s registration of the Infringing Entity as an “LLP” contradicts Bitgood and Ms.
Norman’s sworn statement that the “registrant is not a … limited liability partnership” in their notarized assumed
name certificate. Compare Ex. 9, pp. 14-15 with p. 16.


                                                        11
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            On June 24, 2022, Bitgood, Jones, and the Infringing Entity filed their fourth amended

petition to add LBBS—i.e., Lewis Brisbois Bisgaard & Smith, LLP—as a defendant in that suit.37

Again, Ms. Norman and Bitgood filed the fourth amended petition with Ms. Norman appearing as

counsel for the Infringing Entity. 38

            Against LBBS and Mr. Oubre, Bitgood, Jones, and the Infringing Entity allege, among

other things, that:

                     David Oubre … on behalf of Martinez, Sullivan, and Imperial conduct[s]
                     business in Fort Bend County, Texas using the [Infringing Entity’s]
                     name in an illegal and unauthorized manner reasonably calculated to
                     create mass confusion and damage [the Infringing Entity]. 39

                     ...

                     Plaintiffs [in the underlying lawsuit] would further show that Martinez
                     and Sullivan … contracted with, and aided, abetted, and encouraged
                     Oubre… to file pleadings and papers in the Courts of Fort Bend County,
                     Texas, using the [Infringing Entity]—an act they were not authorized to
                     do—as the name Lewis Brisbois belongs to the [Infringing Entity],
                     not the defendants or their co-conspirators. 40

                     ...

                     Clearly, there cannot be a Plaintiff named Lewis, Brisbois, Bisgaard &
                     Smith LLP … and a set of imposters, Oubre … signing [his] name[] to
                     pleadings and documents without the consent of the [Infringing Entity].
                     This is tantamount to the [Infringing Entity] suing itself … . For these
                     reasons, [Bitgood, Jones, and the Infringing Entity] seek both a
                     temporary and permanent injunction to enjoin all the defendants from
                     using the [Infringing Entity’s] name anywhere in the State of Texas,
                     along with all the proceeds that were billed and collected by the phony
                     Lewis Brisbois since May 26, 2022, along with a declaration that the



37
     Ex. 10. The Fourth Amended Petition is currently the operative pleading in the Imperial Lofts Case.
38
     Ex. 10, p. 14 of 16.
39
     Ex. 10, ¶ 2 (emphasis added)
40
     Ex. 10, ¶ 22(f) (emphasis added).


                                                           12
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                     phony Lewis Brisbois has no partnership, limited or otherwise in the
                     State of Texas. 41

Bitgood and Jones further allege that:

                     The phony Lewis Brisbois voluntarily gave up its right to do business in
                     Texas under that name, when despite repeated warnings from the
                     Secretary of State directed at Oubre, and to its California office to renew,
                     Oubre did nothing, as the Secretary of State allowed him to surrender the
                     name, and allowed the foreign LLP to expire, thereby allowing the
                     domestic LLP to be formed, registered and approved by the Texas
                     Secretary of State. Like any other race in the world, the first to the
                     “finish line” is declared the “winner” by the Secretary of State. 42

           However, that issue is immaterial to Defendants’ infringement upon LBBS’ trademark

rights. Contrary to Bitgood, Jones, and the Infringing Entity’s allegations, LBBS is registered to

do business in the State of Texas and LBBS’ current registration pre-dates Bitgood’s registration

of the Infringing Entity.

           As discussed supra, LBBS has since 2002 conducted business as “Lewis Brisbois Bisgaard

& Smith, LLP,” “Lewis Brisbois Bisgaard & Smith,” “Lewis Brisbois,” and “LBBS,” 43 and LBBS

is the owner and senior user of the mark “LEWIS BRISBOIS BISGAARD & SMITH,” and the

owner and senior user of the registered marks “LB” and “LB LEWIS BRISBOIS.” 44

           Despite this, Defendants began filing correspondences and public court documents using

the following letterhead:




41
     Ex. 10, ¶ 23.
42
     Ex. 10, ¶ 23 n.7 (emphasis added).
43
     Exs. 51 & 57.
44
     Exs. 1, 2, & 3; Ex. 22, at 23:17-25.


                                                       13
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                                                                                  45


Indeed, Defendants, acting jointly, filed public correspondences and court pleadings using the

above letterhead and representing themselves as counsel for the Infringing Entity in the Imperial

Lofts Case in at least thirteen (13) instances:

                     •   On 06/15/2022 – Plaintiffs’ Third Amended Petition for Declaratory Relief and
                         Application for Temporary Injunction Pending Trial; 46

                     •   On 06/21/2022 – Plaintiff’s Reply to Defendant’s Response to the Motion to
                         Show Authority; 47

                     •   On 06/23/2022 – Application for Entry of Partial Default & Severance; 48

                     •   On 06/24/2022 – Plaintiffs’ Fourth Amended Petition for Declaratory Relief
                         and Application for Temporary Injunction Pending Trial; 49

                     •   On 06/24/2022 – Motion to Strike the J.P. Court Jury Demand and Request for
                         Judicial Notice Under Texas Rule of Evidence 201; 50

                     •   On 07/11/2022 – Plaintiff’s Reply to Defendant’s “Amended” Response to the
                         Motion to Show Authority & Motion to Strike the “Affidavits” of Larson,
                         Sullivan & Martinez; 51

45
     See, e.g., Exs. 11, 12, 45, 46, & 47; Ex. 53A, at 73:11-74:21.
46
     Ex. 9; Ex. 53A, at 88:19-89:17.
47
     Ex. 39; Ex. 53A, at 91:18-92:24.
48
     Ex. 40; Ex. 53A, at 93:1-18.
49
     Ex. 10; Ex. 53A, at 96:6-21.
50
     Ex. 41; Ex. 53A, at 94:1-10.
51
     Ex. 42; Ex. 53A, at 101:8-102:3.


                                                            14
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                    •   On 07/12/2022 – Plaintiff’s Reply to Defendant’s “Amended” + “Amended”
                        Response to the Motion to Show Authority; 52

                    •   On 07/12/2022 – Motion to Strike the “Affidavits” of Larson, Sullivan &
                        Martinez; 53

                    •   On 07/22/2022 – Plaintiffs’ Reply to the Amended-Amended Response to the
                        Defendant’s Motion to Show Authority With Incorporated Motion to Strike the
                        “Affidavits” of Larson, Sullivan, & Martinez; 54

                    •   On 08/16/2022 – Letter/pleading to Trayneisha Sanford and Eralyn Fisher; 55

                    •   On 08/17/2022 – Time Line and Chronology; 56

                    •   On 08/17/2022 – Notice of Partial Non-Suit as to Defendant Chinasa
                        Ogubureke; 57

                    •   On 08/22/2022 – First Supplement to the Motion to Disqualify Lewis Brisbois
                        Bisgaard & Smith LLP and David A. Oubre. 58

           In an effort to avoid the necessity of this suit, on September 16, 2022, LBBS demanded

Defendants desist in their fraudulent and infringing conduct. 59 Defendants refused to do so and,

instead, continued to file public court documents and send letters on the Infringing Entity’s

letterhead containing LBBS’ name:

                    •   On 09/19/2022 – Letter/pleading to William Moye and Bennett Fisher in the
                        Imperial Lofts Case; 60

52
     Ex. 43; Ex. 53A, at 103:3-16.
53
     Ex. 50; Ex. 53A, at 102:5-103:1.
54
     Ex. 44; Ex. 53A, at 103:21-104:14.
55
     Ex. 45; Ex. 53A, at 81:22-82:10.
56
     Ex. 46; Ex. 53A, at 73:11-74:21.
57
     Ex. 47.
58
     Ex. 48.
59
     Ex. 13; see Ex. 23A.
60
     Ex. 11.

                                                    15
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                    •    On 09/22/2022 – Plaintiff’s “Soft” Objections/Motion to Strike Defendant’s
                         “Original” Answer Filed in the Imperial Lofts Case on 09/21/2022; 61

                    •    On 09/23/2022 – E-mail with attached images of a business card for the
                         Infringing Entity, as described in more detail below; 62

                    •    On 09/29/2022 – Letter to Bennett Fisher with the Bitgood Entity’s letterhead.63

                    •    On 10/05/2022 – Letter to the Honorable Keith P. Ellison filed in Civil Action
                         No. 4:22-cv-03279, on October 5, 2022, as Docket No. 8. 64

Defendants could not have been more brazen in Defendants’ infringement upon LBBS’

tradenames. In response to LBBS’ request that Defendants desist in Defendants’ fraudulent use of

LBBS’ marks, on September 23, 2022, Bitgood sent an email with the subject line “NOT

AFFILIATED WITH ‘LEWIS & BOBO’ A CALIFORNIA FOREIGN LLP” to LBBS. 65 In the

email, Bitgood states:

                    This should “cool” Jana Lubert’s “jets” until I can get to “Little” Billy
                    Helfand, and Bennett Fisher next week---no possible name confusion at all,
                    we are not that incompetent, all they have to do is like “Doc Holiday” said
                    in “Tombstone”: “SAY WHEN”!-- and say otherwise, thereby holding open
                    the door in court for me to put on evidence to the contrary! “Don’t be a
                    daisy” Bennett & Billy, just “SAY WHEN”!--see the back of the card!

Bitgood attached the following images to his September 23, 2022 e-mail:




61
     Ex. 12.
62
     Ex. 14; see Ex. 22, at 13:25-14:10.
63
     Ex. 24.
64
     Ex. 49.
65
     Ex. 14.

                                                      16
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                               SUMMARY JUDGMENT STANDARD

       Summary judgment is appropriate when “there is no genuine issue as to any material fact

and…the moving party is entitled to a judgment as a matter of law.” FED. R. CIV. PRO. 56(c). If

the Rule 56 standards are met, summary judgment is not to be regarded as a “disfavored procedural

shortcut.” Celotex Corp. v. Catrett, 477 U.S. 317, 327 (1986); Calpetco 1981 v. Marshall

Exploration, Inc., 989 F.2d 1408, 1412-16 (5th Cir. 1993). The threshold inquiry is whether there

are “any genuine factual issues that properly can be resolved only by a finder of fact because they

may reasonably be resolved in favor of either party.” Anderson v. Liberty Lobby, Inc., 477 U.S.

242, 251 (1986).

                                 SUMMARY OF THE ARGUMENT

       The Court’s February 16, 2023 Preliminary Injunction Order immediately restrained

Defendants in the above-entitled action from “(a) using, directly or indirectly, in any manner, the

trademarks owned by LBBS, the name Lewis Brisbois Bisgaard & Smith, LLP, the name Lewis

Brisbois, and/or the initials “LB” or “LBBS” or any variation or derivative of those names in any

manner and for any purpose,” and from “(b) holding themselves out as members of, representatives

of, or otherwise having any relationship with or to Lewis Brisbois Bisgaard & Smith, LLP or as

                                                17
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being in any way affiliated with Lewis Brisbois Bisgaard & Smith, LLP. 66 In issuing the

Preliminary Injunction Order, the Court found Defendants infringed “on [LBBS’] trademarks and

service marks, both registered and unregistered and which the Court finds have achieved secondary

meaning, . . . .” 67

           Aside from being an inherently strong trademark, LBBS has achieved national brand name

recognition as a result of its reputation in the legal community as well as LBBS’ marketing,

advertising, and providing legal services in various practice areas. Indeed, summary judgment

evidence shows LBBS has a legally protectable trademark because LBBS’ marks have acquired

distinctiveness through secondary meaning—which, again, this Court previously determined at the

preliminary injunction stage. Also, evidence shows Defendants’ use of LBBS’ trademarks supports

a conclusion that there is a likelihood of confusion.

           Not only do Defendants’ actions constitute trademark infringement and unfair competition

under the Lanham Act, Defendants’ actions were also willful, which warrants, among other things,

statutory damages, a permanent injunction against Defendants, and an award of reasonable

attorneys’ fees incurred by LBBS. Indeed, the equities in this case strongly favor a permanent

injunction barring Defendants from continuing to use LBBS’ marks to advertise, promote, or

market the Infringing Entity. A permanent injunction is necessary to prevent irreparable harm to

LBBS, and would serve significant public interests.

           All Defendants acted in concert with one another, and based on the same deceitful,

fraudulent, and unlawful conduct by Defendants, LBBS is entitled to summary judgment on

LBBS’ fraud and conspiracy claims as to all Defendants as well.



66
     Doc. 124.
67
     Doc. 124.

                                                  18
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                                 ARGUMENT AND AUTHORITIES

A. LBBS is entitled to summary judgment on LBBS’ trademark infringement and unfair
   competition claim against Defendants.

       Summary judgment is proper in a trademark case if the “record compels the conclusion

that the movant is entitled to judgment as a matter of law.” See Bd. of Supervisors for Louisiana

State Univ. Agric. & Mech. Coll. v. Smack Apparel Co., 550 F.3d 465, 474 (5th Cir. 2008).

       “Trademark and service mark infringement claims are governed by the Trademark Act of

1946 (Lanham Act), 15 U.S.C. §§ 1051 et seq.” Amazing Spaces, Inc. v. Metro Mini Storage, 608

F.3d 225, 236 n.7 (5th Cir. 2010). Section 32(1) of the Lanham Act, allows the owner of a federally

registered trademark to bring an action for infringement against anyone using that mark or a similar

mark in a manner likely to cause consumer confusion. 15 U.S.C. § 1114(1). In pertinent part,

Section 32(1)(a) provides that anyone who, without the consent of the registered owner of a

trademark “use[s] in commerce any reproduction, counterfeit, copy, or colorable imitation of a

registered mark in connection with the sale, offering for sale, distribution, or advertising of any

goods or services on or in connection with which such use is likely to cause confusion, or to cause

mistake, or to deceive” will be liable to the registrant for the remedies provided in the Lanham

Act. Id.

       Similarly, Section 43(a) of the Lanham Act creates a federal cause of action for unfair

competition or infringement of unregistered marks. Jim S. Adler, P.C. v. McNeil Consultants,

L.L.C., 10 F.4th 422, 426 (5th Cir. 2021). In pertinent part, Section 43(a) provides:

               (1) Any person who, on or in connection with any goods or services, or
               any container for goods, uses in commerce any word, term, name, symbol,
               or device, or any combination thereof, . . . which –

                       (A) is likely to cause confusion, or to cause mistake, or to deceive
                       as to the affiliation, connection, or association of such person with
                       another person, or as to the origin, sponsorship, or approval of his

                                                 19
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                            or her goods, services, or commercial activities by another
                            person…shall be liable in a civil action by any person who
                            believes that he or she is or is likely to be damaged by such act.

15 U.S.C. § 1125(a).

B. LBBS’ evidence proves Defendants infringed on LBBS’ trademarks and tradename.

          The same elements apply to both a trademark infringement cause of action and an unfair

competition cause of action. Jim S. Adler, P.C., 10 F.4th at 426. To succeed in a trademark

infringement or unfair competition claim, a party merely must prove that: (1) it has a legally

protectable mark, and (2) the infringer’s use of that mark is likely to cause confusion. Am. Rice,

Inc. v. Producers Rice Mill, Inc., 518 F.3d 321, 329 (5th Cir. 2008).

          The same test governs the unfair competition claims brought under the common law of the

State of Texas. The analysis with respect to claims under the Lanham Act will be “dispositive” of

corresponding claims for common law unfair competition under Texas law. Amazing Spaces, Inc.,

608 F.3d at 236 n.7. A trademark infringement and unfair competition action under Texas common

law presents essentially “no difference in issues than those under federal trademark infringement

actions.” Id. (citation omitted); See also Dallas Cowboys Football Club, Ltd. v. America’s Team

Properties, Inc., 616 F. Supp. 2d 622, 637 (N.D. Tex. 2009).

        a. This Court already found Defendants infringed on LBBS’ marks, all of which acquired
           secondary meaning

           At the October 6, 2022 hearing, the Court stated on the record: “Lewis Brisbois is far and

away the senior user of the name and it has acquired secondary meaning . . . .” 68 The Court

memorialized its findings in the February 16 preliminary injunction order where the Court found:

“Defendants are infringing on [LBBS’] trademarks and service marks, both registered and



68
     Ex. 22, at 23:20-22.

                                                     20
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unregistered and which the Court finds have achieved secondary meaning, . . . .” 69 As this Court

previously found at the preliminary injunction stage, the Court should again find LBBS is the

senior user of the trade name and LBBS’ trademarks have acquired secondary meaning.

        b. LBBS has legally protectable trademarks

          To be legally protectable, a mark “must be distinctive in one of two ways: (1) inherent

distinctiveness or (2) acquired distinctiveness through secondary meaning.” Streamline Prod. Sys.

v. Streamline Mfg., 851 F.3d 440, 450 (5th Cir. 2017) (internal quotation marks and citation

omitted). A mark is inherently distinctive “if its intrinsic nature serves to identify a particular

source.” Nola Spice Designs, L.L.C. v. Haydel Enters., 783 F.3d 527, 537 (5th Cir. 2015) (citation

omitted). A mark has acquired distinctiveness “if it has developed secondary meaning, which

occurs when, in the minds of the public, the primary significance of a mark is to identify the source

of the product rather than the product itself.” Id. (citation omitted).

                     i. LBBS’ mark is inherently distinctive

              “Registration of a mark with the PTO is prima facie evidence that the mark [is] inherently

distinctive.” Streamline Prod. Sys., 851 F.3d at 451; Nola Spice Designs, L.L.C., 783 F.3d at 537.

Since 2002, LBBS has conducted business as “Lewis Brisbois Bisgaard & Smith, LLP,” “Lewis

Brisbois Bisgaard & Smith,” “Lewis Brisbois,” and “LBBS.” 70 In 2009, LBBS registered the

service mark, “LEWIS BRISBOIS BISGAARD & SMITH,” with the PTO as Registration Number

3,722,172. 71 In 2017, LBBS registered the service marks, “LB LEWIS BRISBOIS” and “LB,” as




69
     Doc. 124.

70
     Exs. 51 & 57.
71
     Ex. 1.


                                                      21
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Registration Numbers 5,151,128 and 5,151,123, respectively. 72 LBBS’ registration of its marks

with the PTO constitutes prima facie evidence that LBBS’ marks are inherently distinctive.

                   ii. LBBS’ marks have acquired secondary meaning 73

          The evidence shows LBBS’ trademarks meet several of the distinctiveness through

secondary meaning factors. The Fifth Circuit uses a seven-factor test to determine whether a mark

has acquired secondary meaning: “(1) length and manner of use of the mark or trade dress, (2)

volume of sales, (3) amount and manner of advertising, (4) nature of use of the mark or trade dress

in newspapers and magazines, (5) consumer-survey evidence, (6) direct consumer testimony, and

(7) the defendant’s intent in copying the [mark].” Test Masters Educ. Servs., Inc. v. Robin Singh

Educ. Servs., Inc., 799 F.3d 437, 445 (5th Cir. 2015) (citation omitted), cert. denied sub

nom. Robin Singh Educ. Servs., Inc. v. Testmasters Educ. Servs., Inc., 137 S. Ct. 499, 196 L. Ed.

2d 405 (2016). “These factors in combination may show that consumers consider a mark to be an

indicator of source even if each factor alone would not prove secondary meaning.” Smack Apparel

Co., 550 F.3d at 476.

          The first factor, length and manner of use, supports a finding of secondary meaning. The

record shows LBBS has been using the marks for a significant period of time to identify and

distinguish itself from other law firms and competitors in the legal field. Since 2002, LBBS has

been known as “Lewis Brisbois Bisgaard & Smith, LLP” and has continuously conducted business

using shortened or abbreviated versions of its name including, but not limited to “Lewis Brisbois




72
     Exs. 2 & 3.
73
   The Court previously found “Defendants are infringing on [LBBS’] trademarks and service marks, both registered
and unregistered and which the Court finds have achieved secondary meaning, . . . .” [Doc. 124, Preliminary Injunction
Order]; “Lewis Brisbois is far and away the senior user of the name and it has acquired secondary meaning . . . .” [Ex.
22, at 23:20-22].


                                                         22
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Bisgaard & Smith,” “Lewis Brisbois,” and “LBBS.” 74 In 2009, LBBS registered the service mark,

“LEWIS BRISBOIS BISGAARD & SMITH,” with the PTO as Registration Number 3,722,172. 75

Then, in 2017, LBBS registered the service marks, “LB LEWIS BRISBOIS” and “LB,” as

Registration Numbers 5,151,128 and 5,151,123, respectively. 76

          The evidence also shows that LBBS’ legal services using LBBS’ marks annually exceed the

hundreds of millions for the past 17 years. 77 The third factor, amount and manner of advertising,

also favors LBBS, as LBBS’ advertising and marketing of its legal services has not only been

pervasive nationally but has also, apparently, been quite effective. 78 Regarding the fourth factor,

nature of use of the mark in newspapers and magazines, favors LBBS. LBBS and its legal services

are regularly referenced in social media postings and other media outlets. 79 While LBBS did not

conduct a formal consumer survey or elicit direct consumer testimony, the fact Defendants

intentionally and knowingly used LBBS’ exact trade name to improperly advertise the Infringing

Entity’s “mediation services” and to influence consumers to perceive the Infringing Entity is

related in some manner to LBBS further supports the conclusion there is secondary meaning.

          Finally, the seventh factor, Defendants’ intent to infringe on LBBS’ trademarks, weighs

heavily in favor of LBBS. Indeed, Defendants, working in concert, on several occasions admitted

to the Court Defendants intended to infringe LBBS’ marks:




74
     Exs. 51 & 57.
75
     Ex. 1.
76
     Exs. 2 & 3.
77
     Exs. 15 & 51.
78
     See Exs. 15 & 51.
79
     Exs. 16, 17, 18, 19, 20, & 21.


                                                 23
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Bitgood

          •    Bitgood: “We took the name Lewis Brisbois Bisgaard because it seemed like a sound
               business investment at the time.” 80

          •    In response to the Court’s question: 81

                     Court:          I understand that they may have let the registration lapse or decided
                                     affirmatively not to renew it, but why did you want to use the firm’s
                                     name?

                     Bitgood:        It seemed like a good business investment at the time, Judge . . . .

          •    In response to the Court’s statement: 82

                     Court:          I understand that they may not have wanted the name, but why
                                     would you think it was yours to take? It seems like the firm had an
                                     institutional identity very different from your own. I don’t
                                     understand why you wanted to use their name.

                     Bitgood:        Your Honor, it seemed at the time – it may not be sound at the time
                                     now – to be a good business investment. We would open a mediation
                                     store and an arbitration store. . . .

          •    Bitgood: “What I did shouldn’t have been done, period. But we fixed it.” 83

Ms. Norman:

          •    Ms. Norman: “It looked like a voluntary relinquishment; and it looked like, as [Bitgood]
               said, a business opportunity. That’s all it was.” 84

          •    In response to the Court’s question: 85

                     Court:          Ms. Norman, I did see stationary where you appear to list yourself
                                     as a lawyer for Lewis Brisbois Bisgaard & Smith.

80
     Ex. 22, at 5:18-20 (emphasis added).
81
     Ex. 22, at 6:16-20.
82
     Ex. 22, at 7:5-13.
83
     Ex. 23, at 13:9-10.
84
     Ex. 22, at 21:8-10.
85
     Ex. 22, at 13:17-15:7.


                                                       24
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                     Ms. Norman: Yes, sir.

                     Court:        . . . Why are you best listing yourself on law firm stationary as a
                                   member?

                     Ms. Norman: As a member?

                     Court:        As a member of the firm, yes.

                     Ms. Norman: I’m a member of the mediation and arbitration – the firm was – the
                                 L.L.P. for Texas was formed to do mediations and arbitrations, and
                                 I’m a member. I’m a partner in that firm.

                     Court:        Which firm is that now?

                     Ms. Norman: Lewis Brisbois Bisgaard & Smith, L.L.P., filed in Texas on March
                                 the 26th of this year. 86

                     ...

                     Court:        Why did you do it [list yourself as a member] with Lewis Brisbois?

                     Ms. Norman: For the same reason that Mr. Bitgood is stating. When I – I have a
                                 practice, and I have had a practice for many years of reviewing
                                 filings of opposing entities. I found that in the filings of Mr. Oubre
                                 in the underlying case, when he filed the original answer on March
                                 the 11th, the law firm Lewis Brisbois Bisgaard & Smith was not
                                 authorized to conduct business in Texas because it had voluntarily
                                 relinquished its right to do so, making the filings by Mr. Oubre on
                                 behalf of the plaintiff void filings.

                     Court:        Whether they are properly registered or not, what makes you think
                                   you can use the name for yourself?

                     Ms. Norman: Because it was available.

          •    In response to the Court’s question: 87

                     Court:        Do you understand – do you have any basis for saying you have a
                                   right to use the law firm’s name?

86
   Defendants formed the Infringing Entity through a filing with the Office of the Secretary of State of Texas on May
26, 2022, not March 26, 2022. See Ex. 7.
87
     Ex. 22, at 21:4-10.


                                                        25
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                     Ms. Norman: Well, I looked at the history of relinquishment of that name – the
                                 relinquishment of the name with the authority to do business in
                                 Texas multiple times. It looked like a voluntary relinquishment; and
                                 it looked like a voluntary relinquishment; and it looked like, as
                                 [Bitgood] said, a business opportunity. That’s all it was.

          Aside from Defendants’ admission to the Court, there is overwhelming evidence

demonstrating Defendants’ intent to infringe LBBS’ marks, with the specific intent of causing

LBBS harm. Defendants testified in depositions they knew of the existence of LBBS months prior

to Defendants forming the Infringing Entity 88 and prior to Defendants’ filing the Infringing

Entity’s limited liability partnership registration and the assumed name certificate in the Office of

the Secretary of State of Texas. 89 Ms. Norman testified in deposition she had permission to use

LBBS’ name merely because LBBS had not renewed its registration to do business in Texas with

the Office of the Secretary of State. 90 Mr. Beers admitted in deposition he knew LBBS was using

the name “Lewis, Brisbois, Bisgaard & Smith” when Mr. Beers deliberately prepared and filed the

assumed name certificate. 91 Additionally, when Law 360 asked why Bitgood registered LBBS’

name, Bitgood admitted in a public article: “I don’t like the way [LBBS] treated us, I don’t like

the pranking” 92 and “[w]hat I do resent is being bullied, and that’s what happening here.” 93 Bitgood

also publicly admitted in an article that “he ‘bought’ the Lewis Brisbois name for $750 when it

became available because [Bitgood] was upset about Oubre’s behavior during settlement




88
     Ex. 53, at 26:8-22, 38:2-5, 39:2-4, 81:5-8; Ex. 53A, at 41:3-8; Ex. 54, at 10:15-19, 25:21-25.
89
     Exs. 7 & 8.
90
     Ex. 53, at 55:3-21.
91
     Ex. 54, at 24:18-23.
92
     Ex. 59; see Ex. 58.
93
     Ex. 60; see Ex. 58.

                                                            26
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negotiations.” 94 Further, Defendants actively and knowingly created business cards advertising

mediation and arbitration services to be provided by the Infringing Entity, 95 and finally, even after

Defendants knew LBBS was authorized to do business in Texas, Defendants filed several public

pleadings with letterheads and signature blocks containing LBBS’ name. 96 The evidence clearly

establishes Defendants’ intent to copy and infringe LBBS’ name and marks.

          These factors weigh heavily in favor of finding LBBS’ trademarks acquired secondary

meaning. Thus, there is no genuine dispute of fact LBBS has a legally protectable right in its

trademarks.

        c. There is a likelihood of confusion as to source, affiliation, or sponsorship

          Defendants’ use of LBBS’ service marks creates a “likelihood of confusion in the minds of

potential consumers as to source, affiliation, or sponsorship of [the Infringing Entity’s] services.

Springboards to Educ. v. Houston Indep. Sch. Dist., 912 F.3d 805, 812 (5th Cir. 2019) (internal

quotation marks omitted).

          In assessing likelihood of confusion, the Fifth Circuit requires the Court to consider a non-

exhaustive list of “digits of confusion”: “(1) the type [or strength] of mark allegedly infringed, (2)

the similarity between the marks, (3) the similarity of the products or services, (4) the identity of

retail outlets and purchasers, (5) the identity of the advertising media used, (6) the defendant’s

intent, . . . (7) any evidence of actual confusion[,] . . . [and] (8) the degree of care exercised by

potential purchasers.” Id. (citations and quotations omitted). “No one factor is dispositive, and a

finding of a likelihood of confusion does not even require a positive finding on a majority of these


94
     Ex. 60 (emphasis added).

95
     Ex. 14.
96
     Exs. 9, 10, 11, 12, 24, 39, 40, 41, 42, 43, 44, 45, 46, 47, 48, 49, & 50; Ex. 53A, at 44:4-14.


                                                             27
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digits of confusion.” Elvis Presley Enters. v. Capece, 141 F.3d 188, 194 (5th Cir. 1998) (internal

quotation marks and citation omitted). Notwithstanding, the evidence supports a finding of a

likelihood of confusion.

                     i. Type or strength of mark allegedly infringed

           The type of the mark “refers to the strength of the mark.” Id. at 201. Courts analyze two

factors in determining the strength of the mark: “(1) the mark’s position along the distinctiveness

spectrum, and (2) the standing of the mark in the marketplace.” Springboards to Educ., 912 F.3d

at 812 (citations omitted). “[T]he second factor that courts consider—and the more important of

the two—is a mark’s commercial strength.” Bd. of Regents of the Univ. of Houston Sys. v. Houston

Coll. of Law, Inc., 214 F. Supp. 3d 573, 585 (S.D. Tex. 2016) (Ellison, J.). “Marks may be

strengthened in the marketplace by extensive advertising, length of time in business, public

recognition, and uniqueness.” Id. (citation omitted). Further, in assessing the strength of a

trademark, “the focus is the senior user’s mark.” Elvis Presley Enters., 141 F.3d at 201. “The

stronger the mark, the greater the protection it receives because the greater the likelihood that

consumers will confuse the junior user’s use with that of the senior user.” Id. It is undisputed

LBBS’ name and marks have been used since 2002, 97 and has been featured in several public and

social media articles. 98 Further, LBBS is a nationally-known law firm with a wide presence across

the United States for providing legal services. 99 The evidence proves LBBS’ name and marks are

strong—the first digit supports a finding of a high likelihood of confusion.




97
     Exs. 1, 2, & 3; see Exs. 51 & 57.
98
     Exs. 16, 17, 18, 19, 20, & 21.
99
     See Exs. 16, 17, 18, 19, 20, & 21.


                                                    28
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                     ii. Similarity between the marks

            The second digit also favors LBBS because the Infringing Entity’s marks are not only

similar, but identical to LBBS’ marks. Specifically, Defendants named the Infringing Entity using

only four names—“Lewis Brisbois Bisgaard & Smith, LLP”—all of which are the same exact four

names of LBBS’ law firm. 100 Indeed, Ms. Norman testifies in her deposition that she takes

responsibility for filing public pleadings on behalf of the Infringing Entity in which the pleadings

contain LBBS’ exact names, in many instances making no distinction between LBBS’ California

LLP and LBBS’ Texas LLP. 101 Mr. Beers further acknowledged the Infringing Entity’s name is

identical to LBBS’ name. 102

                     iii. Similarity of the services

            LBBS provides legal services in numerous practice areas and advertises and marks those

legal services using its registered service marks and name marks—namely, “LEWIS BRISBOIS

BISGAARD & SMITH,” “LB LEWIS BRISBOIS,” and “LB.” 103 Defendants created the

Infringing Entity in order to provide “mediation[, arbitration] and related services.” 104 Evidence

demonstrates LBBS provides mediation and arbitration services and employs more than 20

lawyers nationwide in 59 offices who routinely conduct mediation and arbitration proceedings. 105

The third digit supports a finding of a high likelihood of confusion.



100
    Exs. 7, 8, & 14; Ex. 53, at 14:9-15:22; Ex. 53A, at 12:1-25, 20:11-24, 41:3-8, 58:23-59:5; see Exs. 39, 40, 41, 42,
43, 44, 45, 46, 47, 48, 49, & 50.
101
      Ex. 53A, at 83:3-17, 105:12-22, 112:6-15.
102
      Ex. 54, at 37:19-38:3.
103
      Exs. 1, 2, & 3; see Exs. 16, 17, 18, 19, 20, & 21.
104
      Ex. 14.
105
      Ex. 23, at 26:19-28:25, 34:21-35:20.


                                                           29
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                     iv. Identity of retail outlets and purchasers

            The fourth digit, while not fitting neatly under these circumstances, nonetheless suggests a

likelihood of confusion. LBBS is a law firm and does not market its legal services in retail outlets

or has retail purchasers. Regardless, LBBS markets its legal services to any individual or entity in

need of any kind of professional legal services, which LBBS provides nationally and throughout

Texas including, but not limited to, conducting mediations and arbitrations. 106 Likewise,

Defendants have held the Infringing Entity out to the public as some legal entity with exactly the

same name as LBBS 107 and providing exactly the same type of legal mediation and arbitration

services as LBBS. 108

                     v.    Identity of the advertising media used

            Defendants, conspiring together, have represented themselves as acting on behalf of the

Infringing Entity in public court pleadings 109 and produced business cards reflecting same. 110

Doing so, Defendants have displayed and advertised the Infringing Entity in the public domain as

a legal entity offering legal services. The fifth digit suggests a likelihood of confusion.

                     vi. Defendants’ intent

            The sixth digit strongly weighs in favor of a conclusion that there is a likelihood of

confusion. The Fifth Circuit has said that when a “mark was adopted with the intent of deriving

benefit from the reputation of [the mark holder] that fact alone ‘may be sufficient to justify the


106
      Ex. 23, at 26:19-28:25, 34:21-35:20.
107
      Exs. 7, 8, 9, 10, 11, 12, 14, 24, 39, 40, 41, 42, 43, 44, 45, 46, 47, 48, 49, & 50.
108
      Ex.14; Ex. 22, at 7:12-13; Ex. 23, at 26:19-28:25, 34:21-35:20.
109
    See, e.g., Exs. 7, 8, 9, 10, 11, 12, 24, 35, 36, 37, 38, 39, 40, 41, 42, 43, 44, 45, 46, 47, 48, 49, & 50; Ex. 53A, at
20:11-24, 44:4-14, 79:13-81:17, 81:22-82:10; Ex. 54, at 40:6-13, 42:12-25, 48:5-51:1.
110
      Ex. 14.


                                                               30
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inference that there is confusing similarity.’” Amstar Corp. v. Domino’s Pizza, Inc., 615 F.2d 252,

263 (5th Cir. 1980) (quoting Restatement of Tort § 729, comment f (1938)). Here, as discussed

supra, the record clearly establishes Defendants had every intent to infringe upon LBBS’ name

and marks. Defendants admitted to the Court on numerous occasions that using LBBS’ name was

a “good business investment.” 111 Additionally, Ms. Norman’s deposition testimony demonstrates

the very deliberate intent to form an entity with LBBS’ exact four names. 112 Specifically, Ms.

Norman testified Defendants intentionally used the name “Lewis, Brisbois, Bisgaard & Smith”

because “the name [] appeared available,” 113 and “there were a lot of considerations that went into

this name.” 114 Defendants also testified in depositions they knew of the existence of LBBS months

prior to Defendants forming the Infringing Entity 115 and prior to Defendants’ filing the Infringing

Entity’s limited liability partnership registration and assumed name certificate in the Office of the

Secretary of State of Texas. 116 Mr. Beers admitted in deposition he knew LBBS was using the

name “Lewis, Brisbois, Bisgaard & Smith” when Mr. Beers deliberately prepared and filed the

assumed name certificate. 117 Additionally, when Law 360 asked why Bitgood registered LBBS’

name, Bitgood admitted in a public article: “I don’t like the way [LBBS] treated us, I don’t like




111
      See supra Section B(b)(ii).
112
      See Ex. 53A, at 58:23-59:5.
113
      Ex. 53, at 24:7-14.
114
      Ex. 53, at 25:22-26:3.
115
      Ex. 53, at 26:8-22, 38:2-5, 39:2-4, 81:5-8; Ex. 53A, at 41:3-8; Ex. 54, at 10:15-19, 25:21-25.
116
      Exs. 7 & 8.
117
      Ex. 54, at 24:18-23.


                                                            31
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the pranking” 118 and “[w]hat I do resent is being bullied, and that’s what happening here.” 119

Bitgood also publicly admitted in an article that “he ‘bought’ the Lewis Brisbois name for $750

when it became available because [Bitgood] was upset about Oubre’s behavior during settlement

negotiations.” 120 Further, Defendants created business cards advertising mediation and arbitration

services to be provided by the Infringing Entity 121 and finally, Defendants filed several public

pleadings with letterheads and signature blocks containing LBBS’ name. 122 The evidence clearly

shows Defendants had the intent to confuse, mislead, or deceive the public.

                     vii. Evidence of actual confusion

            The Fifth Circuit has held that “evidence of actual confusion is not necessary to a finding

of a likelihood of confusion.” Elvis Presley Enters., 141 F.3d at 203 (citation omitted). Regardless,

there is clear evidence of actual confusion here. The record shows Meredith Riede, the City

Attorney for the City of Sugarland, Texas, reached out to LBBS’ counsel questioning Bitgood’s

e-mail and attached public pleading to Riede. 123 Defendants also admitted to the Court that using

LBBS’ name was a “good business investment,” 124 which reflects confusion in the public eye

created by Defendants’ deliberate actions to usurp LBBS’ marks and name. The seventh digit,

while not necessary to establish a finding of a likelihood of confusion, still weighs in favor of such

finding.


118
      Ex. 59; see Ex. 58.
119
      Ex. 60; see Ex. 58.
120
      Ex. 60.

121
      Ex. 14.
122
      Exs. 9, 10, 11, 12, 39, 40, 41, 42, 43, 44, 45, 46, 47, 48, 49, & 50.
123
      Ex. 25.
124
      See supra Section B(b)(ii).


                                                              32
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               viii. Degree of care exercised by potential purchasers

       “Under this digit, the greater the care potential purchasers exercise, the less likely it is they

will confuse a junior mark user’s products or services with the senior mark user’s products or

services.” Springboards to Educ., 912 F.3d at 817. This eighth digit is not applicable under these

circumstances because LBBS is a law firm that provides only legal services to its clients versus

goods to potential purchasers.

       The preceding analysis demonstrates all factors, if applicable, weigh heavily in favor of

LBBS. Specifically, the strength of LBBS’ marks, the similarity of the marks, the similarity of the

services, Defendants’ intent, and the evidence of actual confusion all support the conclusion there

is a likelihood of confusion. Defendants’ unauthorized use of LBBS’ trademarks and name to

promote, market, advertise, and conduct the Infringing Entity’s purported “mediation and related

services” business is likely to cause confusion and mistake, and is likely to deceive the public,

including state and federal courts, and LBBS’ clients, prospective clients, employees, and

adversaries, by suggesting some affiliation, connection, or association between LBBS and the

Infringing Entity when there is, in fact, no such connection.

       Accordingly, the Court should grant summary judgment in favor of LBBS for Defendants’

trademark and tradename infringement as well as unfair competition in violations of the Lanham

Act and Texas law.

C. Defendants’ infringement was willful

      A willful Lanham Act violation occurs when the defendant “knows his actions constitute an

infringement.” Flowserve Corp. v. Hallmark Pump Co., Civ. Action No. 4:09-cv-0675, 2011 U.S.

Dist. LEXIS 42802, *22 (S.D. Tex. Apr. 20, 2011) (Ellison, J.) (quoting Philip Morris USA Inc.

v. Lee, 547 F. Supp. 2d 685, 693 (W.D. Tex. Apr. 10, 2008)). “A finding of willfulness does not



                                                  33
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[necessarily] require actual knowledge, but rather [only] willful blindness.” Microsoft Corp. v.

Software Wholesale Club Inc., 129 F. Supp. 2d 995, 1010 (S.D. Tex. Dec. 15, 2000) (Rosenthal,

J.). Accordingly, courts have found willful conduct where a defendant acts with “reckless disregard

for, or with willful blindness” toward a Lanham Act violation. Berg v. Symons, 393 F. Supp. 2d

525, 539–40 (S.D. Tex. Sept. 30, 2005) (Rosenthal, J.). Ignoring a cease-and-desist letter can

constitute “willful and deliberate” infringement. See Chevron Intellectual Prop., LLC v. Allen, Civ.

Action No. 7:08-CV-98-O, 2009 U.S. Dist. LEXIS 74751, *10 (N.D. Tex. Aug. 24, 2009).

“Moreover, the defendant’s knowledge need not be proven directly, but may be inferred from the

defendant’s conduct.” Flowserve Corp., 2011 U.S. Dist. LEXIS 42802, at *17. Here, Defendants’

actual knowledge of their unlawful actions and intent to confuse and deceive the public is evident.

          Again, Defendants admitted to the Court on numerous occasions that using LBBS’ name

was a “good business investment.” 125 Defendants also testified in depositions they knew of the

existence of LBBS months prior to Defendants forming the Infringing Entity 126 and prior to

Defendants’ filing the Infringing Entity’s limited liability partnership registration and assumed

name certificate in the Office of the Secretary of State of Texas. 127 Indeed, Ms. Norman testified

she had permission to use LBBS’ name merely because LBBS had not renewed its registration to

do business in Texas with the Office of the Secretary of State. 128 Mr. Beers admitted in deposition

he knew LBBS was using the name “Lewis, Brisbois, Bisgaard & Smith” when Mr. Beers

deliberately prepared and filed the assumed name certificate. 129 Additionally, when Law 360 asked


125
      See supra Section B(b)(ii).
126
      Ex. 53, at 26:8-22, 38:2-5, 39:2-4, 81:5-8; Ex. 53A, at 41:3-8; Ex. 54, at 10:15-19, 25:21-25.
127
      Exs. 7 & 8.
128
      Ex. 53, at 55:3-21.
129
      Ex. 54, at 24:18-23.

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why Bitgood registered LBBS’ name, Bitgood admitted in a public article: “I don’t like the way

[LBBS] treated us, I don’t like the pranking” 130 and “[w]hat I do resent is being bullied, and that’s

what happening here.” 131 Bitgood also publicly admitted in an article that “he ‘bought’ the Lewis

Brisbois name for $750 when it became available because [Bitgood] was upset about Oubre’s

behavior during settlement negotiations.” 132 Further, Defendants actively and knowingly created

business cards advertising mediation and arbitration services to be provided by the Infringing

Entity, 133 and finally, even after Defendants knew LBBS was authorized to do business in Texas,

Defendants filed several public pleadings with letterheads and signature blocks containing LBBS’

name. 134

           Specifically, Defendants, as plaintiffs in the Imperial Lofts Case, conspired together to

willfully and deliberately infringe LBBS’ marks by filing public documents and representing

themselves as being associated with LBBS in numerous instances in the Imperial Lofts Case

despite the fact Ms. Norman knew LBBS had already renewed its registration for authority to do

business in Texas by at least June 9, 2022: 135

                     •      On 06/15/2022 – Plaintiffs’ Third Amended Petition for Declaratory Relief and
                            Application for Temporary Injunction Pending Trial; 136

                     •      On 06/21/2022 – Plaintiff’s Reply to Defendant’s Response to the Motion to
                            Show Authority; 137


130
      Ex. 59; see Ex. 58.
131
      Ex. 60; see Ex. 58.
132
      Ex. 60.
133
      Ex. 14.
134
      Exs. 9, 10, 11, 12, 39, 40, 41, 42, 43, 44, 45, 46, 47, 48, 49, & 50; Ex. 53A, at 44:4-14.
135
      Ex. 53, at 61:15-19, 62:2-10.
136
      Ex. 9; Ex. 53A, at 88:19-89:17.
137
      Ex. 39; Ex. 53A, at 91:18-92:24.

                                                             35
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                    •    On 06/23/2022 – Application for Entry of Partial Default & Severance; 138

                    •    On 06/24/2022 – Plaintiffs’ Fourth Amended Petition for Declaratory Relief
                         and Application for Temporary Injunction Pending Trial; 139

                    •    On 06/24/2022 – Motion to Strike the J.P. Court Jury Demand and Request for
                         Judicial Notice Under Texas Rule of Evidence 201; 140

                    •    On 07/11/2022 – Plaintiff’s Reply to Defendant’s “Amended” Response to the
                         Motion to Show Authority & Motion to Strike the “Affidavits” of Larson,
                         Sullivan & Martinez; 141

                    •    On 07/12/2022 – Plaintiff’s Reply to Defendant’s “Amended” + “Amended”
                         Response to the Motion to Show Authority; 142

                    •    On 07/12/2022 – Motion to Strike the “Affidavits” of Larson, Sullivan &
                         Martinez; 143

                    •    On 07/22/2022 – Plaintiffs’ Reply to the Amended-Amended Response to the
                         Defendant’s Motion to Show Authority With Incorporated Motion to Strike the
                         “Affidavits” of Larson, Sullivan, & Martinez; 144

                    •    On 08/16/2022 – Letter/pleading to Trayneisha Sanford and Eralyn Fisher; 145

                    •    On 08/17/2022 – Time Line and Chronology; 146




138
      Ex. 40; Ex. 53A, at 93:1-18.
139
      Ex. 10; Ex. 53A, at 96:6-21.
140
      Ex. 41; Ex. 53A, at 94:1-10.
141
      Ex. 42; Ex. 53A, at 101:8-102:3.
142
      Ex. 43; Ex. 53A, at 103:3-16.
143
      Ex. 50; Ex. 53A, at 102:5-103:1.
144
      Ex. 44; Ex. 53A, at 103:21-104:14.
145
      Ex. 45; Ex. 53A, at 81:22-82:10.
146
      Ex. 46; Ex. 53A, at 73:11-74:21.


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                    •    On 08/17/2022 – Notice of Partial Non-Suit as to Defendant Chinasa
                         Ogubureke; 147

                    •    On 08/22/2022 – First Supplement to the Motion to Disqualify Lewis Brisbois
                         Bisgaard & Smith LLP and David A. Oubre. 148

          Indeed, Ms. Norman admits in deposition she takes responsibility for filing public court

documents on behalf of the Infringing Entity which contain LBBS’ exact name. 149 Then, on

September 16, 2022, LBBS sent a “cease-and-desist” letter to Defendants demanding Defendants

“dissolve immediately the [Infringing Entity] and cease any further activity which serves to

identify yourself as [LBBS’] law firm.” 150 Despite receiving this cease-in-desist letter, the

evidence shows Defendants, in collaboration with one another, continued to use LBBS’ marks by

filing public court pleadings on behalf of the Infringing Entity in the following instances:

                •   On 09/19/2022, Defendants filed a letter with the Infringing Entity’s letterhead in
                    the Imperial Lofts Case; 151

                •   On 09/22/2022, Defendants filed their “Soft” Objections/Motion to Strike
                    Defendant’s “Original” Answer” with the Infringing Entity’s letterhead in the
                    Imperial Lofts Case; 152

                •   On 09/23/2022, Defendants sent an email with attached images of a business card
                    for the Infringing Entity; 153




147
      Ex. 47; Ex. 53A, at 79:13-80:18.
148
      Ex. 48; Ex. 53A, at 20:11-24.
149
      Ex. 53A, at 74:2-75:9, 103:21-104:14, 112:6-15.
150
      Ex. 13; see Ex. 23A.
151
      Ex. 11.
152
      Ex. 12.
153
      Ex. 14.


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                 •   On 09/29/2022, Defendants sent a letter to Bennett Fisher with the Infringing
                     Entity’s letterhead 154 the day after Fisher sent a letter to Ms. Norman demanding
                     Ms. Norman cease using LBBS’ marks. 155

          Because Defendants were on actual notice that Defendants’ pleadings contained LBBS’

registered marks, did not remove or correct such filings, and even after a cease and desist letter

was sent by LBBS, Defendants continued to file more pleadings with LBBS’ marks. Thus,

Defendants, jointly, acted at least with reckless disregard and willful blindness. Defendants’

actions are therefore willful violations of the Lanham Act. Philip Morris, 547 F. Supp. 2d at 693.

D. Summary judgment evidence proves LBBS’ fraud claim.

           LBBS is able to prove Defendants committed fraud as LBBS can prove: “(1) [Defendants]

made a material representation that was false; (2) [Defendants] knew the representation was false

or made it recklessly as a positive assertion without any knowledge of its truth; (3) [Defendants]

intended to induce [LBBS] to act upon the representation; and (4) [LBBS] actually and justifiably

relied upon the representation and suffered injury as a result.” Sys. One Holdings LLC v. Campbell,

Civ. Action No. B:18-cv-54, 2018 U.S. Dist. LEXIS 153965, *10-11 (S.D. Tex. Aug. 21, 2018)

(Morgan, M.J.) (applying Texas law). “A false representation is material if a reasonable person

would attach importance to and be induced to act on the information.” Shandong Yinguang Chem.

Indus. Joint Stock Co. v. Potter, 607 F.3d 1029, 1033 (5th Cir. 2010).

           The evidence shows Defendants knowingly made false, material representations to the Fort

Bend County Clerk and Secretary of State for the State of Texas. On May 2, 2022, Bitgood and

Ms. Norman filed a sworn and notarized assumed name certificate identifying the Infringing Entity

as an “individual” and “further state[d] that this registrant is not a limited partnership, limited



154
      Ex. 24.
155
      Ex. 23A.

                                                     38
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liability company, limited liability partnership, or foreign filing entity.” 156 On May 26, 2022,

Bitgood signed his registration of a limited liability partnership for the Infringing Entity “subject

to the penalties imposed by law for the submission of a materially false or fraudulent

instrument.” 157 On June 1, 2022, Beers, acting in the capacity of attorney-in-fact of the Infringing

Entity, filed an assumed name certificate identifying the Infringing Entity’s assumed name as

“Lewis Brisbois Bisgaard & Smith.” 158 Beers signed the assumed name certificate “subject to the

penalties imposed by law for the submission of a materially false or fraudulent instrument.”159

Defendants also knowingly made false, material representations to the state court in the Imperial

Lofts Case. 160

               As a result of Defendants’ knowingly false representations to the Fort Bend County Clerk

and Secretary of State for the State of Texas, and the court in the Imperial Lofts Case, Defendants

have caused LBBS to suffer damages including, but not limited to, damage in LBBS’ reputation

and goodwill. Accordingly, the Court should grant summary judgment in favor of LBBS on LBBS’

fraud claim.

E. The Court should grant summary judgment on LBBS’ conspiracy claim.

               The elements of civil conspiracy are: “(1) that two or more persons, (2) with an object to

be accomplished, (3) with the meeting of minds on the object or course of action, (4) commit one

or more unlawful or overt acts, (5) that causes damage or injury.” Campbell, 2018 U.S. Dist.


156
      Ex. 6 (emphasis in original).
157
      Ex. 7.
158
      Ex. 8.
159
      Ex. 8.
160
   Exs. 9, 10, 11, 12, 39, 40, 41, 42, 43, 44, 45, 46, 47, 48, 49, & 50; see Ex. 53A, at 20:11-24, 44:4-14, 79:13-81:17,
81:22-82:10; Ex. 54, at 40:6-13, 42:12-25, 48:5-51:1.


                                                          39
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LEXIS 153965, at *10. “[I]n short, there must be a preconceived plan and unity of design and

purpose, for the common design is of the essence of the conspiracy.” Angel v. La Joya Indep. Sch.

Dist., 717 F. App’x 372, 379-80 (5th Cir. 2017) (emphasis in original).

            Defendants actively and fraudulently conspired together to unlawfully organize, register,

conduct business, and file suit using LBBS’ name and trademarks. 161 The purpose of Defendants’

unlawful and fraudulent conduct was to infringe upon and usurp LBBS’ intellectual property,

name, goodwill, and reputation. 162 There is ample evidence showing Defendants concertedly

conspired with one another to infringe LBBS’ trademarks. For example, Ms. Norman produced

several e-mails between Ms. Norman and Bitgood revealing Ms. Norman’s active role in the

conspiracy to intentionally and knowingly create the Infringing Entity and infringe LBBS’

trademarks. 163 Mr. Beers also actively and knowingly engaged in the conspiracy with Bitgood and

Ms. Norman to infringe LBBS’ trademarks by, among other things, working together with Bitgood

and Ms. Norman to file an assumed name certificate in public records on behalf of the Infringing

Entity and conspiring with Bitgood and Ms. Norman to misappropriate LBBS’ name and marks.164

Further, Mr. Beers’ associate (and son), Baker Beers prepared the May 26, 2022 registration form

on behalf of the Infringing Entity at Mr. Beers’ direction. 165 All Defendants voluntarily,

deliberately, and willingly participated in such conspiracy.




161
      See Exs. 7, 8, 9, 10, 11, 12, 14, 25, 39, 40, 41, 42, 43, 44, 45, 46, 47, 48, 49, & 50.
162
      See Ex. 22, at 5:18-20, 6:16-20, 7:5-13.
163
      Exs. 26, 27, 28, 29, 30, 31, 32, 33, & 34.
164
      Exs. 8, 35, 36, 37, & 38; see Ex. 54, at 48:5-51:1.
165
      Ex. 37; Ex. 54, at 40:6-13, 42:12-25, 48:5-51:1.

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       Accordingly, Defendants, acting in concert with one another, committed conspiracy which

resulted in LBBS’ damages, and the Court should grant summary judgment on LBBS’ conspiracy

claim against Defendants.

F. The Court should permanently enjoin Defendants from infringing LBBS’ marks and
   award Plaintiff statutory damages and attorneys’ fees.

       As a result of Defendants’ Lanham Act violations, LBBS seeks (1) permanent injunctive

relief; (2) statutory damages in the amount of $2,000,000 against Bitgood, $2,000,000 against Ms.

Norman, and $10,000 against Mr. Beers for the infringement of LBBS’ trademarks; and (3)

reasonable attorneys’ fees in the amount of $275,396.50. Philip Morris, 547 F. Supp. 2d at 679.

      LBBS asks this Court to enter an order permanently enjoining Defendants from infringing

any of LBBS’ trademarks and from taking any action to promote, market, advertise, and conduct

the Infringing Entity’s purported “mediation and related services” business.

      Section 34(a) of the Lanham Act authorizes courts “to grant injunctions . . . to prevent a

violation” of Section 43(a) of the Lanham Act. 15 U.S.C. § 1116(a). Courts also regularly issue

injunctions as part of summary judgments, including in cases where statutory damages, attorneys’

fees, and costs were also awarded. See Red Giant, Inc. v. Molzan, Inc., Case No. H-07-2657, 2009

U.S. Dist. LEXIS 63990, at *32-33 (S.D. Tex. July 24, 2009) (Johnson, M.J.); Cynthia Hunt

Prods., Ltd. v. Evolution of Fitness Houston, Inc., Case No. H-07-0170, 2007 U.S. Dist. LEXIS

77630, at *10–11 (S.D. Tex. Aug. 16, 2007) (Rosenthal, J.).

    a. The preliminary injunction standard

      A party seeking permanent injunction must demonstrate: “(1) that it has suffered an

irreparable injury; (2) that remedies available at law, such as monetary damages, are inadequate to

compensate for that injury; (3) that, considering the balance of hardships between the plaintiff and

defendant, a remedy in equity is warranted; and (4) that the public interest would not be disserved

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by a permanent injunction.” Abraham v. Alpha Chi Omega, 708 F.3d 614, 627 (5th Cir. 2013)

(quoting eBay Inc. v. MercExchange, LLC, 547 U.S. 388, 391 (2006)). LBBS can establish each

of these elements.

               i. LBBS has suffered irreparable injury

        The Fifth Circuit has found irreparable injury in a trademark infringement case when

“[t]here was a substantial threat to [the plaintiff’s] goodwill and the value of its . . . mark.” Paulsson

Geophysical Servs., Inc. v. Sigmay, 529 F.3d 303, 313 (5th Cir. 2008). Irreparable injury has also

been found where the defendant’s actions “caused a likelihood of confusion among customers.”

Mary Kay, Inc. v. Weber, 661 F. Supp. 2d 632, 640 (N.D. Tex. Sept. 29, 2009). As the Fifth Circuit

has noted, “loss of goodwill will be difficult to pinpoint as compensable damages.” Am. Rice, Inc.

v. Ark. Rice Growers Coop. Ass’n, 532 F. Supp. 1376, 1389 (S.D. Tex. Mar. 2, 1982) (Gibson, J.).

Further, irreparable harm may be “presumed when a [trademark] is infringed.” Entm’t & Sports

Programming Network, Inc. v. Edinburg Cmty. Hotel, Inc., 735 F. Supp. 1334, 1343 (S.D. Tex.

May 16, 1986) (Vela, J.). Moreover, “[t]he potential for ongoing harm if a defendant continues to

make similar false or misleading statements and the likely impossibility of quantifying the extent

of harm suffered as a result of false or misleading statements weigh in favor of finding irreparable

injury.” Ill. Tool Works Inc. v. Rust-Oleum Corp., 346 F. Supp. 3d 951, 955-56 (S.D. Tex. Oct. 30,

2018) (Hittner, J.).

        LBBS has suffered and continues to suffer irreparable harm from Defendants’ actions. As

a direct and proximate result of Defendants’ unauthorized use of LBBS’ trademarks and name to

conduct “mediation and related services,” Defendants and the Infringing Entity have gained a

special competitive advantage without the burden of time, labor, skill, or monetary expense, and

Defendants have likely caused and will likely continue to cause confusion between LBBS and the



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Infringing Entity. Additionally, LBBS’ brand name has been established over the course of more

than 40 years. The damage Defendants’ infringing activities inflict on LBBS’ trademark,

reputation, and goodwill are very real, difficult to quantify, and cannot be cured by monetary

remedies alone. And there is every risk Defendants have not learned their lessons as Defendants

do not even acknowledge their infringing actions was a bad idea, 166 and admitted the creation of

the Infringing Entity was “to see that justice was carried out.” 167 Thus, LBBS has suffered, and

will continue to suffer, irreparable injury absent a permanent injunction.

                   ii. Other remedies, including monetary damages, are inadequate to compensate
                       LBBS for its injuries

           The remedies available at law, including monetary damages, are inadequate to compensate

LBBS for its injuries. Injunctive relief is necessary and appropriate to preclude further injury by

Defendants. Injunctions are especially appropriate where the damage to plaintiff cannot be

quantified, and therefore cannot adequately “be undone by monetary remedies.” Paulsson, 529

F.3d at 313. The damage to LBBS as a result of consumer confusion is similarly “difficult, if not

impossible, to establish with dependable certainty.” Flowserve Corp., 2011 U.S. Dist. LEXIS

42802, at *29 (citation omitted).

           Thus, a simple monetary remedy for past damages is insufficient. LBBS has been and

continues to be irreparably harmed by Defendants’ actions. The damage to LBBS’ consumer

goodwill and widely recognized brand name cannot be quantified, and therefore cannot adequately

be undone by a monetary remedy. See Mary Kay, 661 F. Supp. 2d at 640; Paulsson, 529 F.3d at

313.




166
      Ex. 53A, at 15:14-20.
167
      Ex. 53A, at 125:15-17.

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             iii. The balance of equities favors a permanent injunction

       Without a permanent injunction, LBBS would lose the ability to protect its intellectual

property, goodwill, and brand name. Mary Kay, 661 F. Supp. 2d at 640. Conversely, granting an

injunction would merely require Defendants to refrain from violating the law by using LBBS’

trademark and trade name in the Infringing Entity’s business cards and public filings. See id.

Indeed, “the balance weighs strongly in favor of [LBBS] where all that is requested is that

[Defendants] comply with the [Lanham] Act.” See Flowserve Corp., 2011 U.S. Dist. LEXIS

42802, at *29. Thus, this factor also favors granting a permanent injunction.

              iv. Public interest favors protection against trademark infringement, trade name
                  infringement, and unfair competition

       The issuance of the injunctive relief sought is clearly in the public’s best interest. An

injunction will not disserve the public interest, as the public will not be harmed by Defendants’

inability to infringe LBBS’ trademarks. Indeed, “[t]he public interest is always served by requiring

compliance with Congressional statutes such as the Lanham Act and by enjoining the use of

infringing marks.” Quantum Fitness Corp. v. Quantum LifeStyle Centers, L.L.C., 83 F. Supp. 2d

810, 832 (S.D. Tex. Aug. 13, 1999) (Rosenthal, J.). “The Supreme Court has held that the Lanham

Act exists to insure that the owner of a trademark reaps the benefits of the goodwill of his business,

and ‘to protect the ability of consumers to distinguish among competing producers.’” Mary Kay,

661 F. Supp. 2d at 640 (citing Park ‘n Fly, Inc. v. Dollar Park and Fly, Inc., 469 U.S. 189, 198

(1985)). “The reason is simple: the public deserves not to be led astray by the use of inevitably

confusing marks…” Angel Flight of Ga. Inc. v. Angel Flight Am., Inc., 522 F.3d 1200, 1209 (11th

Cir. 2008) (citation omitted)).

       Granting a permanent injunction will therefore serve the public interest by requiring

Defendants’ compliance with the Lanham Act, by protecting LBBS’ trademarks, public image,

                                                 44
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reputation, and goodwill, and by protecting “the ability of consumers to distinguish among

competing producers.” Park ’N Fly, Inc., 469 U.S. at 198. Accordingly, it is in the interest of the

public to protect LBBS’ trademarks by granting the injunctive relief requested.

    b. LBBS is entitled to statutory damages from Defendants

       The Lanham Act allows a plaintiff to “elect, at any time before final judgment . . . to

recover, . . . an award of statutory damages for any such use in connection with . . . distribution of

[] services in the amount of (1) not less than $1,000 or more than $200,000 per counterfeit mark .

. . ; or (2) if the court finds the use of the counterfeit mark was willful, not more than $2,000,000

per counterfeit mark.” 15 U.S.C. § 1117(c). Accordingly, “Plaintiff is entitled to statutory damages

between $1,000 and $2,000,000 for each counterfeit mark used.” Sculpt Inc. v. Sculpt N. Y., LLC,

Civ. Action No. H-14-3398, 2015 U.S. Dist. LEXIS 148653, *11 (S.D. Tex. Nov. 3, 2015) (Miller,

J.). Due to Defendants’ willful conduct, LBBS is seeking $2,000,000 in statutory damages against

Bitgood, $2,000,000 in statutory damages against Ms. Norman, and $10,000 in statutory damages

against Beers. LBBS believes the request for statutory damages to be reasonable in light of

Defendants’ willful conduct, and also in line with legal precedent.

       Courts generally consider the factors relevant for statutory damages in copyright

infringement cases to calculate statutory damages in trademark counterfeiting cases. Coach, Inc.

v. Brightside Boutique, Cause No. 1:11-CA-20 LY, 2012 U.S. Dist. LEXIS 1464, *11 (W.D. Tex.

Jan. 6, 2012) (citing Microsoft Corp., 129 F.Supp.2d at 1008). Therefore, in a trademark

infringement case, courts “consider such factors as the willfulness of the defendant’s conduct, the

deterrent effect of an award on both the defendant and on others, the value of the copyright,

whether the defendant has cooperated in providing necessary records to assess the value of the

infringing material, and the losses sustained by the plaintiff.” Commercial Law League of Am.,



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Inc. v. George, Kennedy & Sullivan, LLC, No. Civ. A. H-07-0315, 2007 U.S. Dist. LEXIS 68182,

at *3 (S.D. Tex. Sept. 14, 2007) (Rosenthal, J.).

            Four of the five factors—i.e., Defendants’ willfulness, the need to deter Defendants’

conduct, the value of the trademarks, and the losses sustained by LBBS—justify a substantial

award of statutory damages per counterfeit mark. The record demonstrates Defendants have

willfully infringed LBBS’ marks on at least 18 occasions over the span of only four (4) months by

filing public pleadings using LBBS’ marks and, thereby, representing to the public that Defendants

are somehow associated with LBBS. 168 Indeed, Defendants continued to infringe LBBS’ marks

despite receiving at least two letters demanding Defendants to cease such actions. 169 Due to

Defendants’ willful actions, LBBS has sustained significant loss in terms of LBBS’ time and

attorneys’ fees in pursuing this lawsuit as well as damage to LBBS’ reputation.

            In light of these facts, and as supported by legal precedent, the Court should (in addition to

a recovery of its reasonable attorneys’ fees) grant LBBS statutory damages in the amount of

$2,000,000 against Bitgood, $2,000,000 against Ms. Norman, and $10,000 against Beers.

        c. LBBS is entitled to its reasonable attorneys’ fees

            In light of the exceptional circumstances presented in this case, LBBS seeks reimbursement

for its reasonable attorneys’ fees LBBS incurred through September 21, 2023 in the amount of

$275,396.50. 170 In the context of the Lanham Act, reasonable attorneys’ fees may be awarded in

“exceptional cases.” 15 U.S.C. § 1117(a). “An exceptional case involves acts that can be called

malicious, fraudulent, deliberate, or willful.” Schlotzsky’s, Ltd. v. Sterling Purchasing & Nat’l



168
      Exs. 9, 10, 11, 12, 14, 24, 39, 40, 41, 42, 43, 44, 45, 46, 47, 48, 49, & 50.
169
      Exs. 13 & 23A.
170
      Ex. 52.


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Distrib. Co., Inc., 520 F.3d 393, 402 (5th Cir. 2008) (internal quotation marks omitted). “Great

latitude is given the district court in awarding damages under the Lanham Act, which expressly

confers upon the district judges wide discretion in determining a just amount or recovery

for trademark infringement.” Martin’s Herend Imports, Inc. v. Diamond & Gem Trading USA,

Co., 112 F.3d 1296, 1304 (5th Cir. 1997); Laerdal Med. Corp. v. Basic Med. Supply, LLC, No. CV

H-16-35, 2016 WL 6436557, at *3 (S.D. Tex. Oct. 31, 2016) (Miller, J.). As previously

demonstrated, Defendants’ violation of the Lanham Act was fraudulent, deliberate, and willful.

        This is a case where the Court should exercise its discretion to award LBBS its reasonable

attorneys’ fees and costs incurred from defending its intellectual property rights. First, because

Defendants deliberately ignored at least two cease-and-desist letters from LBBS, LBBS was forced

to file this action. Entm’t & Sports Programming Network, Inc., 735 F. Supp. at 1337; Chevron

Intellectual Prop., LLC, 2009 U.S. Dist. LEXIS 74751, at *10. Second, an award of attorneys’ fees

and costs will serve the important functions of deterring future infringements, making Defendants

account for their unlawful conduct, and compensating LBBS for the fees and costs it was forced to

incur in order to protect its trademarks and end the consumer confusion caused by Defendants’

actions. Stated differently, awarding at reasonable attorneys’ fees and costs will put LBBS back in

the position it would have been in but for Defendants’ willful violations of the Lanham Act and

subsequent refusal to cease-and-desist from those activities.

        In light of the foregoing, LBBS respectfully seeks reimbursement for its attorneys’ fees in

the amount of $275,396.50 against all Defendants, for which Defendants are jointly and severally

liable. 171 See Polo Ralph Lauren L.P. v. Schuman, 1998 U.S. Dist. LEXIS 5907, at *15 (S.D. Tex.



171
   Upon entry of a final judgment, and consistent with Rule 54(d), LBBS will submit a claim for attorneys’ fees and
related nontaxable expenses.


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1998) (Milloy, M.J.). The amount LBBS seeks is not only the product of a reasonable number of

hours and reasonable hourly rates, but is also less than its actual costs and attorneys’ fees incurred

in this lawsuit.

                                            CONCLUSION

         For the reasons set forth above, LBBS respectfully requests this Court grant LBBS’ motion

for summary judgment, enter final judgment that includes all monies and fees awarded, including

statutory damages, permanently enjoin Defendants from infringing on LBBS’ trademarks, and for

further relief to which LBBS should be deemed to be justly entitled.

Dated: September 29, 2023                      Respectfully submitted,

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                                     Certificate of Service

       I certify a true and correct copy of the foregoing document has been served on all parties
and counsel of record by electronic filing on September 29, 2023

                                            / s / William S. Helfand
                                            William S. Helfand




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